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15

16                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
17

18
      JACOLA WILLIAMS, LESLIE                      CASE NO. 3:22-cv-02927-TLT
19    PATTERSON and JERIKA BARNES-
      JENKINS,                                     Civil Rights
20
      Plaintiffs,
21                                                     JOINT FURTHER CASE MANAGEMENT
      v.                                               STATEMENT
22
      JOHN STEWART COMPANY;
23    RESOURCES FOR COMMUNITY
      DEVELOPMENT,                                 DATE: November 30, 2023
24         Defendants.                             TIME: 2:00pm
                                                   LOCATION: Zoom webinar
25

26

27

28

      JOINT FURTHER CASE MANAGEMENT
      STATEMENT
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 1            The Parties submit this Joint Further Case Management Statement in compliance with the

 2   Court's August 22, 2023 Order (ECF No. 66) scheduling a Further Case Management Conference

 3   for November 30, 2023.

 4   Jurisdiction and Service

 5            Defendant John Stewart Company has been served and has answered the original

 6   Complaint but has not filed an Answer to the First Amended Complaint (FAC). Defendant

 7   Riviera Family Apartments, L.P. has been served with the FAC and has answered. Defendant

 8   Resources for Community Development was served with the original Complaint and answered

 9   and was subsequently dismissed.

10       A. Facts

11   Plaintiffs

12            Plaintiff JaCola Williams was in a car crash in 2015 that nearly killed her. She survived

13   but was left with significant disabilities that impact her ability to live a completely independent

14   life. She cannot drive. Her mother, Plaintiff Leslie Patterson, and her sister, Plaintiff Jerika

15   Barnes-Jenkins, are her caretakers. Neither live with Ms. Williams, but both spend time at her

16   apartment regularly to assist her with activities of daily living and transport her to medical

17   appointments and other errands.

18            Ms. Williams has lived at the Riviera Family Apartments in Walnut Creek, California

19   with her son since 2018. Since then, Defendant property manager John Stewart Company,

20   operating under the authority of Defendant property owner Resources for Community

21   Development, has impeded her progress toward independence and normalcy by intentionally and

22   continually discriminating against her on the basis of her disability. Defendants have denied her

23   requests for reasonable accommodation of her disability and harassed her caregivers, with express

24   knowledge that those caregivers’ only purpose for being at the apartments is to support Ms.

25   Williams. 1

26

27   1
      Plaintiff also disputes Defendant John Stewart’s allegations of criminal behavior by third persons leading to its
28   eviction effort in 2020 but won’t use space rebutting them since they would never be admissible related to
     Defendants’ disability discrimination in 2021 and 2022.

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 1          Both Plaintiffs Patterson and Barnes-Jenkins have mobility disabilities. They each have a

 2   disabled parking placard or plate issued by the State of California that they use when working

 3   with Ms. Williams. Despite this, Defendants have refused to permit them to park in designated

 4   disabled parking spaces in the parking garage closest to the building entrance and have harassed

 5   them when they do.

 6          In December of 2021, Ms. Patterson requested reasonable accommodations on Ms.

 7   Williams’ behalf for 1) a designated parking space in the garage so that her caregivers can

 8   provide care for her; 2) Ms. Barnes-Jenkins to be recognized as a care attendant for Ms. Williams

 9   and to come and go at the building as her care necessitates; and 3) to be notified when the

10   elevator goes out of service and be relocated when it is out longer than 24 hours. Despite

11   following up a number of times, Ms. Williams has never received a response to these reasonable

12   accommodation requests. Instead, three months later in March of 2022, she received an email

13   threatening to evict her for: 1) Having Ms. Barnes-Jenkins and Ms. Patterson periodically park in

14   the disabled parking space to accommodate their disabilities while providing her care; and 2)

15   Having Ms. Barnes-Jenkins, her care attendant, periodically sleep in her apartment while

16   providing her care.

17          Both threatened reasons for eviction are disability-related and specifically addressed in the

18   reasonable accommodation requests that Defendants ignored. The threatening letter was their

19   response and effectively a denial of the reasonable accommodation requests and retaliation for

20   making the requests in the first place. Defendants’ behavior is ongoing. They continue to deny

21   Plaintiffs access to the garage, they continue to ignore the requests for accommodation, and they

22   show no intention of ceasing their pattern of harassing Plaintiffs. Plaintiffs seek injunctive relief,

23   damages, and attorneys’ fees, costs and litigation expenses.

24   Defendants

25   John Stewart Company:

26          Plaintiff JaCola Williams entered into a federally-subsidized tenancy in the subject

27   apartment in October, 2018. Defendant John Stewart Company (sometimes hereafter “JSCo.”)

28   manages the subject apartment for the owner. Despite occupancy restrictions in her subsidized

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 1   lease, by January, 2020, third-parties were using Ms. Williams’ key card to access and use the

 2   unit and the property. Those persons engaged in serious nuisance and other disruptive conduct

 3   which culminated in the discharge of a firearm on or near the property on or about January 20,

 4   2020. As a result, JSCo. terminated Ms. Williams’ tenancy and then, on September 17, 2020,

 5   filed an action for unlawful detainer to enforce the termination notice and recover possession of

 6   the premises. That action is entitled John Stewart Company v. Williams, et al., Contra Costa

 7   County Superior Court, Limited Jurisdiction, case #MS20-0126 (hereafter “The Eviction”).

 8          Instead of recovering possession of the premises from Ms. Williams, as was its right,

 9   JSCo. allowed Ms. Williams to stay in the apartment, by settling the case and entering into what

10   practitioners refer to as a “behave and stay” agreement. Under the agreement, JaCola Williams

11   agreed to comply with all terms of the agreement through November 30, 2022. If she did so

12   without breaching any part of the agreement, then JSCo. agreed that it would dismiss The

13   Eviction and reinstate her tenancy. Relevant to this action, the agreement has clear terms

14   concerning parking, the use of the garage, and occupancy in the unit. Ms. Williams agreed that

15   she would be the only person who could reside in the premises; no one else could reside or stay in

16   the unit with her. She agreed that the only person who could stay in the unit overnight is her

17   mother, plaintiff Leslie Patterson. Ms. Williams promised that she would not permit any persons

18   other than her mother to enter the garage without her present. She also agreed that she would not

19   park a vehicle in the garage unless she is approved for a parking space. Notwithstanding these

20   promises, JSCO.’s position is that plaintiffs have violated these restrictions and breached the

21   settlement agreement, and that the requests made by plaintiffs for “reasonable accommodations”

22   are essentially demands that JSCo. not stand on the terms of the settlement agreement, instead

23   effectively disregard or excise provisions from the settlement agreement which Ms. Williams now

24   wishes to disregard, and not enforce the settlement agreement by seeking the entry of a stipulated

25   judgment for possession to which JSCo. is presently entitled. JSCo.’s position is that plaintiffs

26   are now using federal litigation and anti-discrimination claims to pressure it to refrain from

27   enforcing the settlement agreement in The Eviction.

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     JOINT FURTHER JOINT CASE MANAGEMENT
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 1   Riviera Family Apartments, L.P.:

 2          Riviera Family Apartments, L.P. is the owner of the property containing the subject

 3   premises and relies upon Defendant John Stewart Company for all aspects of management of the

 4   property. Riviera Family Apartments, L.P. defers to the expertise and experience of John

 5   Steward Company its management of the property and re-iterates the factual statement of its

 6   property manager, stated above.

 7      B. Legal Issues

 8   Plaintiffs’ Position

 9          1.      Does ignoring reasonable accommodation requests for 11 months (and counting)

10                  constitute constructive denial of the requests in violation of the Fair Housing Act,

11                  Section 504 of the Rehabilitation Act, FEHA, the Unruh Act and the Disabled

12                  Persons Act?

13          2.      Does Defendants’ property manager and maintenance staff using their vehicles to

14                  block in cars lawfully parked in disabled spaces, deactivating a tenant’s garage

15                  door fob to prevent them from lawfully parking in the disabled parking spaces and

16                  threatening eviction after making reasonable accommodation requests constitute

17                  retaliation within the meaning of the Fair Housing Act, Section 504 of the

18                  Rehabilitation Act, FEHA, the Unruh Act and the Disabled Persons Act?

19   Defendants’ Position

20   John Stewart Company and Riviera Family Apartments, L.P.:

21          1.      Do plaintiffs Leslie Patterson and Jerika Barnes have standing to assert any claims

22                  given that neither is a tenant in the subject rental unit and neither is a “member of

23                  the household”?

24      C. Motions

25          On January 13, 2023, JSCo. filed a Motion to Strike some or all of Plaintiffs’ Complaint

26   under the anti-SLAPP statute (Code of Civil Procedure § 425.16). ECF No. 38. Plaintiffs timely

27   filed their opposition on January 27, 2023. ECF No. 39. Despite the Court’s order stating

28   “existing briefing schedules for motions remain unchanged” and “renoticing of the hearing does not

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 1   affect the prior briefing schedule,” (ECF No. 41) JSCo. failed to file a Reply. The motion hearing

 2   was taken off calendar by operation of the Court’s order. Defendant John Steward Company re-

 3   filed the Motion to Strike and oral arguments were held on September 5, 2023. On September 7,

 4   2023, the Court issued its order denying Defendant’s Motion to Strike holding that “Defendants’

 5   conduct is neither protected nor privileged under SLAPP.” ECF. No. 68 at 5:13).

 6           If the case does not settle on December 5, 2023, the Parties intend to seek summary

 7   judgment/summary adjudication.

 8       D. Amendment of Pleadings

 9           On November 16, 2022, Plaintiffs filed a First Amended Complaint to remove Defendant

10   Resources for Community Development and add in Defendant Riviera Family Apartments, L.P.

11   ECF No. 28. In the Parties’ last CMC statement, Defendant JSCo. represented that it would file

12   an Answer to the FAC once it received a ruling on its Motion to Strike. A ruling on that Motion

13   was issued on September 6, 2023 (ECF No. 69) and yet, JSCo. still has not filed an Answer to the

14   FAC.

15       E. Evidence Preservation

16           The parties certify that they have reviewed the Guidelines Relating to the Discovery of

17   Electronically Stored Information (“ESI Guidelines”) and confirm that they have met and

18   conferred pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to

19   preserve evidence relevant to the issues reasonably evident in this action. The parties do not

20   anticipate any issues regarding the disclosure or discovery of electronically-stored information.

21       F. Disclosures and Joint Discovery Plan

22           Discovery has been completed.

23       G. Related Cases

24   Plaintiffs

25           There are no Related Cases within the meaning of L.R. 3-12. However, there is pending

26   in Contra Costa County Superior Court an “Other Action” as defined in L.R. 3-13. John Stewart

27   Company v. Jacola Williams et al., Case No. MS20-0126 was an unlawful detainer action against

28   Plaintiff JaCola Williams by Defendant John Stewart Company for alleged non-curable breaches

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 1   of her written lease. It was settled and stayed on November 17, 2021, pursuant to a settlement

 2   agreement. The terms of that settlement agreement required JSCo. to dismiss the Unlawful

 3   Detainer by November 30, 2022, which they have not done. JSCo. has presented no evidence to

 4   support its assertion that Plaintiff is in violation, nor has it done anything to enforce the

 5   agreement. Enforcement is no longer available now that the agreement, by its own terms, is

 6   expired.

 7   John Stewart Company

 8           The case is pending. It is supposed to be dismissed by JSCo. by November 30, 2022, as

 9   long as JaCola Williams is not in breach of the agreement. However, JSCo.’s position is that

10   JaCola Williams has been and is presently in breach of the agreement. JSO has not moved

11   forward with any enforcement of the settlement in the unlawful detainer action due to the

12   pendency of this litigation, as Plaintiffs are alleging liability for efforts at enforcement (see FAC

13   at 9:20-23 [“Both threatened reasons for eviction are disability related and specifically addressed

14   in the reasonable accommodation requests Ms. Patterson submitted on Ms. Williams’ behalf on

15   March 1, 2022”)

16       H. Relief Sought

17   Plaintiffs

18       •   Granting Ms. Williams’ reasonable accommodation requests to:

19           1. be provided a reserved designated parking space and use one of the existing disabled

20                parking spaces until a reserved one is available;

21           2. to have her sister, Jerika Barnes-Jenkins, approved as her care worker to come and go

22                as Ms. Williams’ care necessitates and park in Ms. Williams’ designated parking

23                space when caring for her; and

24           3. to be notified when the elevator goes out of service and be relocated when it is out

25                longer than 24 hours.

26       •   To train Defendants’ employees and agents on how to accommodate the rights and needs

27           of disabled persons;

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 1      •   To implement nondiscriminatory protocols, policies, and practices for accommodating

 2          persons with disabilities.

 3      •   Compensatory damages (trebled in the jury’s discretion) for all Plaintiffs as well as

 4          attorney’s fees, costs and litigation expenses.

 5   Defendants

 6   John Stewart Company and Riviera Family Apartments, L.P.:

 7          JSCo. seeks dismissal of all claims and entry of a judgment in its favor, along with

 8   recoverable costs and attorneys’ fees as allowed by law.

 9   Riviera Family Apartments, L.P.

10          Riviera Family Apartments, L.P. seeks dismissal of all claims and entry of a judgment in

11   its favor, along with recoverable costs and attorneys’ fees as allowed by law.

12      I. Settlement and ADR

13          A Settlement Conference is scheduled for December 20, 2023 at 10:00AM in front of

14          Magistrate Judge Thomas S. Hixson.

15      J. Consent to Magistrate for All Purposes

16          Riviera failed to file a consent to Magistrate Jurisdiction and the case was reassigned to

17          Judge Trina L. Thompson.

18      K. Other References

19          None at this time.

20      L. Narrowing of Issues

21          The Court’s order on Defendant John Stewart’s Anti-SLAPP Motion and future cross

22          motions for summary judgment/summary adjudication.

23      M. Expedited Trial Procedure

24          The parties do not believe this case is appropriate for Expedited Trial Procedures.

25      N. Scheduling

26          The Scheduling Order is outlined in ECF No. 50.

27      O. Trial

28          The parties request a jury trial with trial estimate of 7 full trial days.

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 1      P. Disclosure of Non-party Interested Entities or Persons:

 2          Plaintiffs and JSCo. have filed a “Certification of Interested Entities or Persons” as

 3          required by Civil Local Rule 3-15. Riviera Family Apartments, L.P. plans to file a

 4          “Certification of Interested Entities or Persons.” The Parties hereby acknowledge that no

 5          parties other than those named in Plaintiffs’ Complaint is known to have either (i) a

 6          financial interest (of any kind) in the subject matter in controversy or in a party to the

 7          proceeding; or (ii) any other kind of interest that could be substantially affected by the

 8          outcome of the proceeding.

 9      Q. Professional Conduct

10          All attorneys of record for the parties have reviewed the Guidelines for Professional

11          Conduct for the Northern District of California.

12      R. Other Matters

13          None at this time.

14

15   Dated: November 27, 2023                       DERBY, McGUINNESS & GOLDSMITH, LLP

16
                                                    /s/ Deborah Gettleman
17                                                  By: Deborah Gettleman
                                                          Attorneys for Plaintiffs
18

19

20
     Dated: November 27, 2023                       PORTER SCOTT APC
21
                                                   /s/ Cassandra Ninke
22
                                                   By: Cassandra Ninke
23                                                 Attorneys for Defendants
                                                   John Stewart Company and Riviera Family
24                                                 Apartments, L.P.
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 1                                         FILER’S ATTESTATION
 2          Pursuant to Local Rules, I hereby attest that on November 27, 2023, I, Deborah

 3   Gettleman, attorney with Derby, McGuinness & Goldsmith, LLP received the concurrence of all

 4   counsel in the filing of this document.

 5
                                                  /s/ Deborah Gettleman
 6                                                By: Deborah Gettleman
                                                  Attorneys for Plaintiffs
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     JOINT FURTHER JOINT CASE MANAGEMENT
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